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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

YA YA’S PLACE, LLC                              §
                 Plaintiff,                     §
                                                §
                                                §
v.                                              § CIVIL ACTION NO. 4:17-cv-00540
                                                §
SENTINEL INSURANCE COMPANY,                     §
LTD.                                            §
               Defendant                        §

                                  NOTICE OF REMOVAL

        Defendant Sentinel Insurance Company, Ltd. (“Sentinel” or “Defendant”) files

this Notice of Removal and, in support thereof, would show the Court as follows:

        1.      On June 5, 2017, Plaintiff Ya Ya’s Place ,LLC (“Plaintiff’) filed its Original

Petition (the “Petition”) in Cause Number CV17-06-463, in the 271st District Court, Wise

County, Texas. Defendant Sentinel Insurance Company, Ltd. was served on June 7,

2017. Defendant filed its answer in the State Court on June 30, 2017.

        2.      Pursuant to 28 U.S.C. § 1446(a) attached hereto are copies of all process,

pleadings and orders served upon Defendant and all pleadings and orders in the

removed case. In particular: (i) an index of the matters filed herewith is attached as

Exhibit A; (ii) a copy of the citation and executed service return is attached as Exhibit B;

(iii) a copy of the Plaintiff’s petition is attached as Exhibit C; (iv) a copy of Defendant’s

answer is attached as Exhibit D; (v) a copy of the docket sheet in the state court action is

attached as Exhibit E; and (vi) a list of all counsel of record, including addresses, phone

numbers, and the parties represented is attached as Exhibit F.



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        3.      This notice of removal is timely filed under 28 U.S.C. §1446(b) because it is

filed within thirty days after Defendant Sentinel first received a copy of a paper from

which it could first be ascertained that the case is one which is or has become

removable; i.e., Plaintiff’s Original Petition.

        4.      The claims asserted against Defendant are civil actions over which this

Court has original jurisdiction pursuant to 28 U.S.C. § 1332. At the time this action was

commenced, Plaintiff was, and still is a citizen of the State of Texas because it is a Texas

Limited Liability Company with its principal place of business in the State of Texas.

Defendant was, at the time this action was commenced, and still is, a citizen of the

States of Connecticut because it is incorporated under the laws of and has its principal

place of business in Connecticut.

        6.      The amount in controversy exceeds $75,000 based on Plaintiff’s state court

Petition. 1

        7.      The one-year statute of limitation on removal of diversity cases imposed

by 28 U.S.C. § 1446(b) does not prevent removal because this action was commenced

less than one year ago.




1 More specifically, despite a reference to an amount over $100,000 that Plaintiff alleges in Paragraph 1,
Plaintiff alleges the following claims and damages: Breach of Contract; negligence, violation of the Texas
Insurance Code; violation of the Texas Deceptive Trade Practices –Consumer Protection Act and breach
of the common law duty of good faith and fair dealing for which Plaintiff seeks actual damages,
consequential damages, 18% interest, additional statutory damages for alleged “knowing and intentional
conduct, exemplary damages, and attorney’s fees. Thus, the Petition establishes that the amount in
controversy exceeds $75,000.



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        8.      Notice to State Court. Pursuant to 28 U.S.C. § 1446(d), Defendant intends

to serve written notice of this removal on the state court promptly after filing this

Notice of Removal.

        FOR THESE REASONS, Defendant hereby effectuates removal of this cause to

this Court.

                                          Respectfully submitted,

                                          /s/ Brittan L. Buchanan
                                          Brittan L. Buchanan
                                          State Bar No: 03285680
                                          Laura Grabouski
                                          State Bar No: 24031595
                                          Donna Peery
                                          State Bar No.: 00791752
                                          BUCHANAN GRABOUSKI LLP
                                          9600 Great Hills Trail, Suite 300 West
                                          Austin, Texas 78759
                                          Telephone: 512.225.2800
                                          Facsimile:    512.225.2801
                                          Email:        bbuchanan@bg-firm.com
                                                        lgrabouski@bg-firm.com
                                                        dpeery@bg-firm.com
                                          ATTORNEYS FOR DEFENDANT




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                             CERTIFICATE OF SERVICE

      I hereby certify that on July 5, 2017, a true and complete copy of the above and
foregoing instrument has been served via Electronic Mail on Plaintiff’s counsel of
record as follows:
Chidi Oha
State Bar No: 24094877
James M. McClenny
State Bar No: 24091857
J. Zachary Moseley
State Bar No.: 24092863
McClenny Moseley & Associates, PLLC
411 N. Sam Houston Parkway E., Suite 200
Houston, Texas 77060
Telephone:     713-334-6121
Facsimile:     713-322-5953
Email:         James@mma-pllc.com
               Zach@mma-pllc.com
               Chidi@mma-pllc.com

                                           /s/ Brittan L. Buchanan
                                           Brittan L. Buchanan




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